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AB:KCB

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA SRI ed

COMPLAINT AND AFFIDAVIT
“against IN SUPPORT OF
APPLICATION FOR AN
LUCIO CELLI, ARREST WARRANT
Defendant. (18 U.S.C. § 875(c))

No. 18-MJ-1101
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EASTERN DISTRICT OF NEW YORK, SS:

MELISSA SALCEDO, being duly sworn, deposes and says that she is a Deputy
United States Marshal with the United States Marshals Service, duly appointed according to
law and acting as such.

Upon information and belief, on or about November 12, 2018, within the
Eastern District of New York, the defendant LUCIO CELLI did transmit in interstate or
foreign commerce communications containing any threat to injure the person of another.

(Title 18, United States Code, Section 875(c))

The source of your deponent’s information and the grounds for her belief are as

follows!:

 

' Because this affidavit is being submitted for the limited purpose of establishing
probable cause to arrest, | have not set forth every fact learned during the course of this
investigation.
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1. I have been a Deputy United States Marshal with the United States
Marshals Service for approximately fourteen years, and have been involved in the
investigation of numerous cases involving violations of federal law, including threats to
individuals. I am familiar with the facts and circumstances set forth below from my personal
involvement in this investigation, my review of documents, records and reports, and from
reports made to me by other law enforcement officers and personnel. Where I describe the
statements of others, | am doing so only in sum and substance and in part.

2 On or about March 16, 2018, officers with the United States Marshals
Service learned that on that date, LUCIO CELLI., a pro se filer, sent out an email blast
containing inappropriate communications to, among others, judges of the United States
District Court in the Eastern District of New York. Specifically, CELLI sent an email to the
Honorable Brian Cogan, United States District Judge for the Eastern District of New York,
stating: “I said I am going to fucking haunt Randi and I want to know that I won’t stop until
Cogan and the panel fucking answers.” ‘Thereafter, on or about March 16, 2018, CELLI was
interviewed by officers with the United States Marshals Service and, after acknowledging that
he sent the referenced email, stated, in sum and substance, that he would desist sending
inappropriate communications to court officials.

3 On or about November 12, 2018, the defendant LUCIO CELLI sent an
email by means of the Internet from the email address ““enzo0mad@aol.com” to, among
others, the Honorable Margo Brodie and the Honorable Brian Cogan, United States District
Judges for the Eastern District of New York, and the Honorable Robert Katzmann, United
States Court of Appeals Judge for the Second Circuit, containing the subject line: “Re: Brodie

and cogan you mother fuckers sent the us marshalls and they threatened my dui case....fraud
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3
upon the court.. 1 spent all night reading ... but 1 can’t file in court like a normal person i have
to fuck stab you to get justice.”* On the same day, CELLI sent another email by means of
the Internet from the email address “enzoOmad@aol.com” to the above-named individuals
containing the subject line: “Re:KATZMANN AND STEWDART ...EITHER YOU DEAL
WITH THE US MARSHALL THREAT FROM BRODIE AND COGAN OR I HUNT
THEM DOWN AND KILL THEM BECAUSE THEY WANT TO ACT LIKE THE MAFIA
THEY HAVE TO DIE LIKE THE MAFIA.”

4. It is respectfully requested that this Court issue an order sealing, until
further order of the Court, all papers submitted in support of this application, including the
application and arrest warrant. I believe that sealing these documents is necessary because
the warrant is relevant to an ongoing investigation and the target may not be arrested
immediately upon the filing of the warrant. Based upon my training and experience, I have
learned that criminals or persons who know they are under investigation actively search for
criminal affidavits and arrest warrants via the internet, and disseminate them through various
forums to other online criminals as they deem appropriate. Premature disclosure of the
contents of this affidavit and related documents thus may have a significant adverse impact on
the continuing investigation and may severely jeopardize its effectiveness and compromise

the safety of law enforcement officers.

 

* The defendant LUCIO CELLI was a defendant in a civil case filed April 13, 2017, before
before Judge Brodie. See 1:17-cv-02239-MKB-RLM. An appeal to the United States Court
of Appeals for the Second Circuit is pending in that case. See id., ECF No. 146. He was a
plaintiff in a civil case filed June 24, 2015, before Judge Cogan. See 1:15-cv-03679-BMC-
LB. Celli appealed the disposition in the case, which appeal was denied by the United States
Court of Appeals for the Second Circuit on January 12, 2018. See id., ECF No. 64.
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WHEREFORE, your deponent respectfully requests that an arrest warrant be

issued for the defendant so that he may be dealt with according to law.

YY

- MELISSA SALCEDO
Deputy Marshal, United States Marshals Service

Sworn to before me this
13th day of November. 2018

THE HONORABLERAMONE. REYES, JR.

UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
